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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 18-80109-CR-ROSENBERG


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  JOHN O’GRADY,

              Defendant.
  ____________________________/

                              NOTICE OF STRIKING [DE 47]

        The defendant, John O’Grady, through undersigned counsel, hereby gives

  notice to strike DE 47.

                                        Respectfully submitted,

                                        MICHAEL CARUSO
                                        Federal Public Defender

                                        s/ Peter Birch
                                        Peter Birch
                                        Assistant Federal Public Defender
                                        Attorney for the Defendant
                                        Florida Bar No. 304281
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                              CERTIFICATE OF SERVICE


        I HEREBY certify that on October 10, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                         s/ Peter Birch
                                         Peter Birch




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